                            EXHIBIT C




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                                EXHIBIT B




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 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 12/13/2019, I did cause a copy of the following documents, described below,
Ltr re Automatic Stay follow up - 12-12-2019




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attacheed mailing
matrix.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com. A copy
of the declaration of service is attached hereto and incorporated as if fully set forth herein.

DATED: 12/13/2019
                                                           /s/ Christina L Henry
                                                           Christina L Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




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 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 12/13/2019, I did cause a copy of the following documents, described below,
Ltr re Automatic Stay follow up - 12-12-2019




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
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DATED: 12/13/2019
                                                           /s/ Christina L Henry
                                                           Christina L Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




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           Case 20-04002-MJH            Doc 73-10       Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 33 of 39
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CERTIFIED                                CERTIFIED                                CERTIFIED
7019 1640 0001 5478 3466                 7019 1640 0001 5478 3503                 7019 1640 0001 5478 3565
PHH MORTGAGE SERVICES                    PHH MORTGAGE SERVICES                    ROBERT MCDONALD
ATTN: ROB CROWL, CEO                     ATTN: REGISTERED AGENT, CORPORATION      QUALITY LOAN SERVICE CORP. OF WA
1 MORTGAGE WAY                           SERVICE COMPANY                          108 1ST AVE S, SUITE 202
MOUNT LAUREL NJ 08054                    300 DESCHUTES WAY SW, STE 304            SEATTLE WA 98104
                                         TUMWATER WA 98501


CERTIFIED                                CERTIFIED                                CERTIFIED
7019 1640 0001 5478 3558                 7019 1640 0001 5478 3497                 7019 1640 0001 5478 3459
 HSBC BANK USA, N.A., AS TRUSTEE OF      LANCE E. OLSEN                           INVITATION HOMES
THE FIELDSTONE MORTGAGE INVESTMENT       MCCARTHY HOLTHUS, LLP                    ATTN: MICHAEL LAPPANO, REGIONAL
TRUST, SERIES 2006-2                     108 1ST AVE S                            DIRECTOR OF ACQUISITIONS
ATTN: NOEL QUINN, CEO                    SEATTLE WA 98104                         15900 SE EASTGATE WAY, SUITE 150
425 5TH AVE                                                                       BELLEVUE WA 98008
NEW YORK NY 10018




                                                                                        HOOVER000890
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